         Case 2:00-cr-00184-TSZ          Document 421        Filed 02/28/06      Page 1 of 2




01

02

03

04
                              UNITED STATES DISTRICT COURT
05                           WESTERN DISTRICT OF WASHINGTON
                                       AT SEATTLE
06
     UNITED STATES OF AMERICA,            )
07                                        )             Case No. CR00-0184-TSZ-JPD
                 Plaintiff,               )
08                                        )
           v.                             )             SUMMARY REPORT OF U.S.
09                                        )             MAGISTRATE JUDGE AS TO
     ROBERT JAMES RABANG, JR.,            )             ALLEGED VIOLATIONS
10                                        )             OF SUPERVISED RELEASE
                 Defendant.               )
11   ____________________________________ )

12         An evidentiary hearing on a petition for violation of supervised release in this case was

13 scheduled before the undersigned Magistrate Judge on February 24, 2006. The United States

14 was represented by Assistant United States Attorney Susan M. Roe, and the defendant by Ms.

15 Suzanne Lee Elliott. The proceedings were recorded on cassette tape.

16          The defendant had been sentenced on or about December 8, 2000, for Conspiracy to

17   Import and Distribute 100 or More Kilograms of Marijuana. The defendant was sentenced by

18   the Honorable Thomas S. Zilly to thirty-six (36) months in custody, to be followed by three (3)

19   years of supervised release.

20          The conditions of supervised release included the requirements that the defendant

21   comply with all local, state, and federal laws, and with the standard conditions. Special

22   conditions imposed included, but were not limited to, substance-abuse and mental-health

23   treatment participation, consent to search, cooperation with the Internal Revenue Service, and

24   financial disclosure.

25         In a Petition for Warrant or Summons dated September 26, 2005, U.S. Probation Officer

26 Steven R. Gregoryk asserted the following violation by defendant of the conditions of his

     REPORT AND RECOMMENDATION OF
     U.S. MAGISTRATE JUDGE AS TO ALLEGED
     VIOLATIONS OF SUPERVISED RELEASE
     PAGE 1
           Case 2:00-cr-00184-TSZ        Document 421       Filed 02/28/06     Page 2 of 2




01 supervised release:

02          (1)    Failing to participate in the home confinement program as directed by the

03 Probation Officer by deviating from the defendant’s approved schedule continuously, beginning

04 on September 19, 2005, in violation of his home confinement conditions, and in violation of the

05 modification order dated June 2, 2005.

06          The defendant admitted to the violation.

07          I therefore recommend that the Court find the defendant to have violated the terms and

08 conditions of his supervised release as to violation number 1, and that the Court conduct a

09 hearing limited to disposition. A disposition hearing on this violation has been set before the

10 Honorable Thomas S. Zilly, on March 23, 2006, at 10:00 a.m.

11           Pending a final determination by the Court, the defendant has been detained.



                                                        A
12          DATED this 28th day of February, 2006.

13
                                                        JAMES P. DONOHUE
14                                                      United States Magistrate Judge
15

16
     cc:    District Judge:               Honorable Thomas S. Zilly
17          AUSA:                         Ms. Susan M. Roe
18          Defendant’s attorney:         Ms. Suzanne Elliott
            Probation officer:            Mr. Stephen Gregoryk
19

20

21

22

23

24

25

26

     REPORT AND RECOMMENDATION OF
     U.S. MAGISTRATE JUDGE AS TO ALLEGED
     VIOLATIONS OF SUPERVISED RELEASE
     PAGE 2
